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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

NEUHTAH OPIOTENNIONE,
on behalf of herself and all others
similarly situated,

Plaintiff,

v. Civil No. 20-1956 PJM

BOZZUTO MANAGEMENT
COMPANY ef al,

* * * &€& &® * F HR F

Defendant.
ORDER OF DISMISSAL

Upon consideration of Defendants’ Motion to Dismiss (ECF No. 65) and Plaintiff's
opposition thereto, oral argument having been held, it is, for the reasons stated in the
accompanying Memorandum Opinion, this VU" day of July 2021,

ORDERED

1. Defendants’ Motion to Dismiss is GRANTED.

2. The Complaint is DISMISSED.

3. The Clerk of the Court is directed to CLOSE this case.

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PETER J. MESSITTE
TATES DISTRICT JUDGE
